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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                Case No.:      ___________________
                                                                                 22-13306-CMG
In Re:
Richard R. Ciarelli & Linda Ciarelli,                           Chapter:                13
                                                                               ___________________

Debtors.                                                        Hearing Date: ___________________
                                                                                      n/a
                                                                Judge:                Gravelle
                                                                                ___________________



                                           STATUS CHANGE FORM

   Pursuant to D.N.J. LBR 9013-3, the undersigned notifies the court that the matter identified below
   has been:

                             ‫ ܆‬Settled             ‫ ܆‬Withdrawn

           Proof of Claim # 1, filed 5/3/2022
   Matter: ___________________________________________________________________________

   __________________________________________________________________________________



          09/01/2022
   Date: ______________________                             /s/ Denise Carlon
                                                            ________________________________
                                                            Signature




                                                                                                    rev.8/1/15
